     Case 3:08-cv-01151-B Document 58 Filed 09/08/09                      Page 1 of 2 PageID 430


                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

R. B. BARTON, SABRINA CHAMBERS,                       §
JOANNA M. CHAMBERS, TRACY                             §
GERMAIT a/k/a NALOANI SOLOMON                         §
MICHAEL COKEFILED and JAMES M.                        §
HAWKINS,                                              §           CIVIL ACTION NO.
           Plaintiffs,                                §
                                                      §           3:08-CV-1151-B
v.                                                    §           ECF
                                                      §
JEFFREY NELSON, TIMOTHY STECKER,                      §
ALBERT SCHOELEN, and THE CITY OF                      §
DALLAS,                                               §
           Defendants.                                §

                                   JOINT MOTION TO DISMISS

TO THE HONORABLE COURT:

        The Plaintiffs have agreed to dismiss with prejudice their claims in this case against

Defendants, Jeffrey Nelson, Timothy Stecker, and Alfred Schoelen. Plaintiffs have further

agreed, pursuant to a mediated settlement agreement, to dismiss with prejudice their claims

against Defendant, the City of Dallas. Therefore, Plaintiffs, R. B. Barton, Sabrina Chambers,

Joanna M. Chambers, Tracy Germait a/k/a Naloani Solomon, Michael Cokefield, and James M.

Hawkins, and Defendants, Jeffrey Nelson, Timothy Stecker, Alfred Schoelen, and the City of

Dallas, request that the Court grant this motion and dismiss all of Plaintiffs’ claims and this civil

action with prejudice, and order that the parties shall bear their own costs.

                                                  Respectfully submitted,

                                                  /s/ Scott H. Palmer
                                                  Texas State Bar No. 00797196
                                                  SCOTT H. PALMER, P.C.
                                                  15455 Dallas Parkway
                                                  Suite 540 LB 32
                                                  Addison, Texas 75001


Joint Motion to Dismiss                                                                       Page 1
R. B. Barton et al. v. Jeffrey Nelson, et al.; Civil Action No. 3:08-CV-1151-B (ECF)
    Case 3:08-cv-01151-B Document 58 Filed 09/08/09                       Page 2 of 2 PageID 431


                                                  (214) 987-4100 (telephone)
                                                  (214) 922-9900 (telecopier)

                                                  ATTORNEY FOR PLAINTIFFS


                                                  Respectfully submitted,

                                                  CITY ATTORNEY OF THE CITY OF DALLAS

                                                  s/ JASON G. SCHUETTE
                                                  Assistant City Attorney
                                                  Texas Bar No. 17827020
                                                  jason.schuette@dallascityhall.com

                                                  s/ AMY I. MESSER
                                                  Assistant City Attorney
                                                  Texas Bar No. 00790705
                                                  amy.messer@dallascityhall.com

                                                  Dallas City Hall 7BN
                                                  1500 Marilla Street
                                                  Dallas, Texas 75201
                                                  214.670.3519
                                                  214.670.0622 - Facsimile

                                                  Attorneys for Defendant City of Dallas

                                                  Respectfully submitted,

                                                   /s/ Mark Goldstucker
                                                  Mark E. Goldstucker
                                                  State Bar of Texas No. 08104100
                                                  Brown & Hofmeister, L.L.P.
                                                  740 East Campbell Road, Suite 800
                                                  Richardson, Texas 75081
                                                  Telephone: 214-747-6100
                                                  Fax: 214-747-6111
                                                  Email mgoldstucker@bhlaw.net

                                                  Attorneys for Defendants Jeffrey Nelson,
                                                  Timothy Stecker, and Alfred Schoelen




Joint Motion to Dismiss                                                                      Page 2
R. B. Barton et al. v. Jeffrey Nelson, et al.; Civil Action No. 3:08-CV-1151-B (ECF)
